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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    MICHAEL E. PETERSON,

 9                                   Petitioner,          Case No. C20-1074-BJR

10            v.
                                                          ORDER STRIKING MOTION FOR
11    STATE OF WASHINGTON, et al.,                        STAY AND DISMISSING FEDERAL
                                                          HABEAS ACTION
12                                   Respondents.

13

14          The Court, having reviewed petitioner’s petition for writ of habeas corpus, the Report and

15   Recommendation of Mary Alice Theiler, United States Magistrate Judge, petitioner’s “Motion for

16   Stay and Abey,” and the remaining record, hereby finds and ORDERS:

17          (1)       The Report and Recommendation is approved and adopted;

18          (2)       Petitioner’s petition for writ of habeas corpus (Dkt. 4), and this action, are

19   DISMISSED for lack of jurisdiction, and, given this Court’s lack of jurisdiction, the Motion for

20   Stay is stricken;

21          (3)       In accordance with Rule 11 of the Rules Governing Section 2254 Cases in the

22   United States District Courts, a certificate of appealability is DENIED; and

23   ///

     ORDER DISMISSING FEDERAL
     HABEAS ACTION - 1
                  Case 2:20-cv-01074-BJR Document 7 Filed 10/02/20 Page 2 of 2




 1          (4)      The Clerk is directed to send copies of this Order to petitioner and to the Honorable

 2   Mary Alice Theiler.

 3          DATED this 2nd day of October, 2020.

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                                                           A
                                                           Barbara Jacobs Rothstein
                                                           U.S. District Court Judge
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     ORDER DISMISSING FEDERAL
     HABEAS ACTION - 2
